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                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,                  APPLE’S MEMORANDUM IN
                    a Delaware corporation,                       SUPPORT OF ITS MOTION IN
           21                                                     LIMINE NO. 2: PRECLUDE
                                       Plaintiffs,                REFERENCES TO IRRELEVANT
           22                                                     APPLE OPERATIONS, FINANCES,
                          v.                                      AND RECRUITING
           23       APPLE INC.,
                    a California corporation,                     Date: Mar. 13, 2023
           24                                                     Time: 1:30pm
           25                          Defendant.
                                                                  Pre-Trial Conference: Mar. 13, 2023
           26                                                     Trial: Mar. 28, 2023
           27
                         REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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             1                                           INTRODUCTION
             2            Plaintiffs’ discovery efforts suggest that they will try to offer evidence and
             3      argument about Apple’s size, overall revenue and profitability, market capitalization,
             4      foreign operations, and recruiting efforts to encourage an emotional response from the
             5      jury and a bias against Apple. Those subjects are not connected to the specific claims
             6      and defenses in this case, and references to them would only inject confusion and bias
             7      into this trial. Apple respectfully requests that Plaintiffs be precluded from raising such
             8      irrelevant and prejudicial issues.
             9                                            ARGUMENT
           10             Evidence is relevant, and therefore may be admissible, if it both “has any tendency
           11       to make a fact more or less probable than it would be without the evidence,” and “the
           12       fact is of consequence in determining the action.” Fed. R. Evid. 401. “Irrelevant
           13       evidence is not admissible” for any purpose, Fed. R. Evid. 402, and even relevant
           14       evidence should be excluded “if its probative value is substantially outweighed by a
           15       danger of,” inter alia, “unfair prejudice, confusing the issues, misleading the jury, undue
           16       delay, [or] wasting time,” Fed. R. Evid. 403.
           17       I.    REFERENCES TO IRRELEVANT ASPECTS OF APPLE’S OPERATIONS SHOULD BE
           18             EXCLUDED
           19             Plaintiffs’ questions during depositions suggest they intend to present evidence
           20       and argument regarding irrelevant aspects of Apple’s operations, including Apple’s
           21       foreign operations, Ex. 1 at 282:8-10
           22                                                                       , and Apple’s supposed
           23       recruitment of Plaintiffs’ former employees who are irrelevant to the case, see Ex. 1 at
           24       269:7-16
           25                                                         None of these issues has any relevance
           26       to the claims, defenses, or witnesses in this trial, so evidence concerning these issues is
           27       inadmissible. And even if Plaintiffs can conjure some tenuous relevance, evidence
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             1      concerning these issues should be excluded under FRE 403 as unfairly prejudicial and a
             2      waste of trial time.
             3               A.     Statements Or Evidence About Apple’s Foreign Operations Are
             4                      Irrelevant And Prejudicial And Should Be Excluded
             5               To begin, evidence related to Apple’s foreign operations is irrelevant to the case
             6      and should be excluded.         For instance, Apple’s international corporate structure,
             7      including its corporate tax planning, has no connection to Plaintiffs’ trade secret and
             8      patent inventorship claims, all of which are focused on conduct in the United States.
             9      Similarly, the location of Apple’s foreign partners, and any negative press reports about
           10       their working conditions or labor issues, are not relevant to any issue in this case. Ex.
           11       3.1 Plaintiffs would have no purpose to offer evidence or argument on these topics other
           12       than to invite a negative emotional jury response. Courts routinely exclude such
           13       evidence. See, e.g., Pinn, Inc. v. Apple Inc., 2021 WL 4777134, at *2-3 (C.D. Cal. July
           14       14, 2021) (precluding argument, evidence, or questions about Apple’s foreign operations
           15       except for certain relevant product development events and facts about importation);
           16       Maxell, Ltd. v. Apple Inc., 2021 WL 3021253, at *9-10 (E.D. Tex. Feb. 26, 2021)
           17       (precluding “references to Apple’s foreign operations,” including working conditions,
           18       to “unfairly prejudice the jury”); Optis Wireless Technology, LLC v. Apple Inc., No.
           19       2:19-cv-66 (E.D. Tex. July 29, 2020), ECF No. 437 at 241:12-242:5 (granting motion to
           20       exclude “arguments regarding Apple’s foreign operations, including … working
           21       conditions or labor issues, and any press on these issues”); Parthenon Unified Memory
           22       Architecture LLC v. Apple Inc., 2016 WL 7743510, at *3 (E.D. Tex. Sept. 21, 2016)
           23       (precluding reference to “the location of Apple's suppliers, manufacturers, and press
           24       concerning the same, including working condition or labor issues”).
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           27        Plaintiffs have informed Apple that they do not intend to solicit testimony regarding
                    working conditions or labor issues at Apple’s contract manufacturing facilities.
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             1            B.     Statements Or Evidence About Apple’s Size And Overall Financial
             2                   Resources Are Irrelevant And Prejudicial And Should Be Excluded
             3            Plaintiffs should also be precluded from adducing evidence or making arguments
             4      about Apple’s size, financial resources, alleged market power, market capitalization, or
             5      overall financial performance, including Apple’s total revenues and profits. None of
             6      this financial information about Apple overall is relevant to whether Apple
             7      misappropriated Plaintiffs’ purported trade secrets or improperly failed to list Plaintiffs’
             8      employees as co-inventors on certain patents.          Nor is Apple’s overall financial
             9      performance relevant to damages, since each of the three forms of damages available
           10       depends only on the loss or gain “caused by misappropriation” of the specific trade
           11       secrets or a reasonable royalty for the trade secrets’ use, none of which depends on the
           12       defendant’s resources as a whole. Cal. Civ. Code § 3426.3; see also, e.g., Ajaxo, Inc. v.
           13       E*Trade Fin. Corp., 261 Cal. Rptr. 3d 583, 613-615 (2020) (reasonable royalty award
           14       should be apportioned to account only for the value provided by the trade secrets);
           15       Mattel, Inc. v. MGA Ent., Inc., 2011 WL 836418, at *2 (C.D. Cal. Mar. 4, 2011) (same,
           16       for unjust enrichment award). Therefore, evidence about Apple’s overall financial
           17       resources should be excluded under FRE 402. But even if Plaintiffs could articulate
           18       some tangential relevance for one or more of these issues, evidence about Apple’s
           19       overall financial resources would still be inadmissible under FRE 403 because its limited
           20       probative value would be substantially outweighed by the risk of unfair prejudice to
           21       Apple, the risk of confusing the jury, and the resulting waste of trial time. Indeed,
           22       evidence about, for example, Apple’s overall financial performance is regularly
           23       excluded from intellectual property trials under FRE 403. See, e.g., Maxell, 2021 WL
           24       3021253, at *6 (precluding reference to “revenues associated with unaccused products
           25       and Apple’s ability to pay … alleged damages”); Parthenon Unified Memory
           26       Architecture, 2016 WL 7743510, at *2 (granting motion to preclude reference to
           27       “Apple’s [w]ealth, [p]rofits, [r]evenue, [s]ize, etc.,” except profits or revenues
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             1      concerning the relevant products); Golden Bridge Tech. v. Apple Inc., 2014 WL
             2      4057187, at *2 (N.D. Cal. June 1, 2014) (granting motion to exclude “[a]rgument or
             3      [t]estimony [r]egarding Apple’s [s]ize, [w]ealth, [m]arket [c]apitalization, [c]ash, [and]
             4      [o]verall [r]evenues”); Multimedia Pat. Tr. v. Apple Inc., 2012 WL 12868264, at *6
             5      (S.D. Cal. Nov. 20, 2012) (“[Plaintiff] is precluded from stating or providing evidence
             6      showing [Apple’s] revenues or profits.”).
             7            C.     Statements Or Evidence About Apple Recruiting Employees—Other
             8                   Than Those Alleged To Have Conveyed Trade Secrets To Apple—
             9                   Are Irrelevant And Prejudicial And Should Be Excluded
           10             Finally, Plaintiffs should be precluded from offering evidence, testimony, or
           11       argument concerning any former Masimo Corp. or Cercacor Laboratories, Inc.
           12       employees who subsequently worked at Apple other than the only two such people
           13       whose actions are alleged to be relevant to the claims in this case: Dr. Marcelo Lamego
           14       and Dr. Michael O’Reilly. At times during this litigation, Plaintiffs have alleged that
           15       “Apple systematically recruited other key Masimo personnel….” Dkt. 1 ¶ 21; see also,
           16       e.g., Dkt. 296-1 ¶ 21 (same). But Plaintiffs have never identified any other former
           17       Masimo or Cercacor employee “recruited” by Apple who is supposedly relevant to the
           18       alleged misappropriation, and the Court has already held that Plaintiffs cannot rely on a
           19       few words in the complaint “to be a placeholder for a new theory.” Dkt. 1001 at 8. Facts
           20       about any other former Masimo or Cercacor employees who subsequently worked at
           21       Apple would not, therefore, make misappropriation any more likely, nor could they be
           22       relevant to any other issue the jury will be asked to decide. Any such irrelevant evidence
           23       should be excluded under FRE 402. The same applies for any supposed “systematic[]
           24       recruit[ment]” by Apple. There is nothing unusual or improper when a company
           25       “‘solicits [its] competitor’s employees or … hires away one or more of [its] competitor’s
           26       employees who are not under contract.’” Reeves v. Hanlon, 33 Cal. 4th 1140, 1150
           27       (2004) (quoting Diodes, Inc. v. Franzen 260 Cal. App. 2d 244, 255 (1968)). And
           28
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             1      Plaintiffs have failed to lay an adequate foundation for relevance of any alleged
             2      systematic recruitment to any material issue in the case, so they should be precluded
             3      from offering evidence, testimony, or argument on the subject.
             4            Moreover, under FRE 403, whatever minimal probative value such evidence or
             5      arguments might have would be substantially outweighed by the risk of unfair prejudice
             6      to Apple (because Plaintiffs could suggest—without evidence—that if Apple “poached”
             7      numerous Masimo employees Apple probably took their trade secrets too). Admitting
             8      such evidence would also create undue delay, as Apple would have to put on evidence
             9      to show that no former Masimo employees other than Lamego and Dr. O’Reilly are
           10       relevant to Plaintiffs’ claims, even though Plaintiffs have failed to offer any evidence
           11       that those former employees have any bearing on their misappropriation claims. This is
           12       so even though Apple has long since provided a list of the current or former Apple
           13       employee who previously worked for Masimo or Cercacor, a group that includes only a
           14       handful of employees (beyond Lamego and O’Reilly) who actually worked on Apple
           15       Watch. See Ex. 2.
           16                                          CONCLUSION
           17             Accordingly, Apple respectfully requests that the Court preclude Plaintiffs from
           18       offering evidence, testimony, or argument concerning aspects of Apple’s global
           19       operations that are irrelevant to the claims and technologies at issue in this case,
           20       including Apple’s foreign operations, its overall financial performance, and any
           21       purported systematic recruitment of Plaintiffs’ former employees.
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             1      Dated: February 13, 2023              Respectfully submitted,
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             1                             CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple, Inc., Certifies that this
             3      brief contains 1,511 words, which:
             4            X complies with the word limit of L.R. 11-6.1.
             5               complies with the word limit set by court order dated [date].
             6
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